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            Executive Grant of Clemency
                     JOSEPH R. BIDEN, Jr.
   President of the United States ofAmerica
                TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:


   BE IT KNOWN, THAT THIS DAY, I, JOSEPH R. BIDEN, Jr., PRESIDENT OF THE UNITED
 STATES,PURSUANT TO MY POWERS UNDER ARTICLE II, SECTION 2, CLAUSE 1, OF THE
 CONSTITUTION, HAVE GRANTED UNTO


                            ROBERT HUNTER BIDEN
                           A FULL AND UNCONDITIONAL PARDON

        FOR THOSE OFFENSES against the United States which he has committed or may have
 committed or taken part in during the period from January 1, 2014 through December 1, 2024,
 including but not limited to all offenses charged or prosecuted (including any that have resulted
 in convictions) by Special Counsel David C. Weiss in Docket No. 1:23-cr-00061-MN in the
 United States District Court for the District of Delaware and Docket No. 2:23-CR-00599-MCS-1
 in the United States District Court for the Central District of California.

         IN TESTIMONY WHEREOF I have hereunto signed my name and caused the Pardon
 to be recorded with the Department of Justice.

 Done at the City of Washington this 1stday ofDecember in the year ofour Lord Two Thousand
 and Twenty-four and of the Independence ofthe United States the Two Hundred and Forty-ninth.




                                                                 R. BIDEN, Jr.
                                                            JOSEPH
                                                           President
